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                  UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
  JOHN DOE, an individual,

         Plaintiff,
  vs.
                                          Case No. 16-cv-13174
  DAVID H. BAUM, et. al.,                 Hon. David M. Lawson
                                          Mag. Stephanie Dawkins
       Defendants.                        Davis
 __________________________________________________________________
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 __________________________________________________________________

  Plaintiff’s Motion to File Supplemental Reply Brief in Support of his Motion
       for Partial Summary Judgment (ECF 138) Based on New Evidence
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       NOW COMES Plaintiff John Doe, by and through his attorneys, Deborah

 Gordon Law, for his Motion to File a Supplemental Reply Brief in Support of his

 Motion for Partial Summary Judgment (ECF 138) Based on New Evidence, and

 states as follows:

       On June 28, 2019, Plaintiff obtained testimony in another matter calling into

 question the validity of one of Defendants’ main arguments against Plaintiff’s

 Motion for Partial Summary Judgment. For this reason, Plaintiff respectfully

 requests that the Court grant leave to file a brief, four-page Supplemental Reply

 (attached as Ex. C), setting forth this information, which is briefly summarized

 herein.

       On April 22, 2019, Defendants filed their “…Opposition to Plaintiff’s Motion

 for Partial Summary Judgment. ECF 145. A significant part of their argument was

 that further proceedings against Doe by the University should occur:

       “The further proceedings warranted here are a resolution of the sexual
       misconduct allegations against Doe through a constitutionally adequate
       hearing.” Id., at Pg. ID 4810.
 Defendants maintain that the University stands poised to provide those further

 proceedings to Doe, and argue that this is the appropriate “next step” for this case.

 ECF 117, Pg. ID 3997-4001. “These further proceedings are the next step to address

 the procedural shortfall that the Sixth Circuit identified.” ECF 145, Pg. ID 4810.




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       Plaintiff has objected to the University unilaterally conducting further

 administrative proceedings against him in light of their repeated constitutional

 violations. But Defendants have argued that they have a procedure in place that will

 provide what they believe constitutes due process under Doe v Baum, decided on

 September 7, 2018. On January 9, 2019, Defendants issued an “Interim Policy” as

 to sexual misconduct. Defense counsel discussed it at the hearing this court held on

 February 14, 2019:

       MR. DeBRUIN: So we don't -- we don't dispute that any hearing conducted
       by the university must be conducted in a manner consistent with the Circuit's
       decision in Doe versus Baum, this very case. And so the university's new
       procedures, which we have provided to the Court, they were attached to our
       opposition, are very clear. And at page 31 of those procedures, which again
       are attached, and I don't know that we need to spend a tremendous amount
       of time on this, but just to make clear, there is a section called "The Hearing"
       and it begins as follows, and I quote: "The hearing is an opportunity for the
       parties to address the hearing officer in person and to question the other party
       and/or witnesses and for the hearing officer to obtain information following
       the investigation that is necessary to make a determination of whether a policy
       violation occurred. So the currently-in-place policies are very clear that
       the hearing is an opportunity for the parties to address the hearing officer
       in person and, quote, ‘to question the other party and/or witnesses.’ And
       that, in fact, is what the new procedures provide.” Ex. A, Transcript of
       Feb. 14 Hearing at 36:19-37:13.
                                        *****
       That model, in light of the decision by the Sixth Circuit here, has been
       replaced. The current model is different, so you can't overlay one directly on
       the other. Id. at 39:11-3.
                                        *****
       So all I'm saying is, vis-à-vis the relief that the plaintiff is seeking in the
       papers they filed before the Court, if the plaintiff seeks to go forward to get a


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       university degree and the other things that he is requesting, the appropriate
       outcome is for the matter to be resolved for a hearing. Id. at 39:22-40:2.
 Plaintiff’s counsel opposed this position, stating, “I am going to contest their [new]

 policy. I'm going to say it's unconstitutional.” Id. at 24:5-8 (emphasis added).

       Since the February 14, 2019 hearing, Plaintiff has learned that Defendants’

 January 7, 2019 Interim Policy relied on as described above, is about to be changed.

 There is currently “a committee with a formal charge to create” a new policy for

 sexual misconduct in place at the University, headed up by counsel in this case,

 Patricia Petrowski. The committee began meeting in or around February, 2019, and

 hopes to release a new policy for vetting in fall of 2019. Ex. B, Elizabeth Seney

 Dep. of June 28, 2019 at 41:41:16-9; 42:20-43:11; 44:2-3; 22-25; 45:1-23; 46:4-21;

 50:6-51:4. Notably, Seney, the University’s Interim Title IX Coordinator, did not

 know whether the nascent policy would contain the same due process provisions as

 found in the Interim Policy. Id. at 50:19-51:4.

       Defendants are presently in the process of re-writing their administrative

 procedure for adjudicating student sexual misconduct claims. They have no idea

 what due process protections their new policy, which apparently will be in effect if

 and when any further administrative proceedings against Plaintiff commence, will

 provide to students. Defendants cannot rely on the due process protections allegedly

 provided by the Interim Policy when this policy will shortly be done away with in



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 favor of a completely inscrutable set of procedures that will doubtless apply to

 Plaintiff.

        The new information set forth above undermines Defendants’ main arguments

 in opposition to Plaintiff’s Motion for Partial Summary Judgment. Accordingly,

 Plaintiff respectfully requests leave to file a brief, four-page Supplemental Reply

 (attached as Ex. C) to set forth these facts for the Court.

        Plaintiff sought concurrence from Defendants on July 24, 2019.

 Dated: July 24, 2019                    Respectfully submitted,
                                         DEBORAH GORDON LAW
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                           CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2019, I electronically filed the foregoing
 document and Exhibit with the Clerk of the Court using the ECF system, which will
 send notification of such filing and service of said documents to all parties through
 their counsel of record.

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